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June 14, 2022

Via email – nathannysdchambers@nysd.uscourts.gov

Honorable Alison J. Nathan
United States District Court
500 Pearl Street
New York, New York 10007

Re:     Request by Victims to Speak at the Upcoming Sentencing in
        USA v. Maxwell, No. 1:20 Cr. -00330-AJN

Dear Judge Nathan:

       We represent Sarah Ransome and Elizabeth Stein, two victims of the sex
trafficking perpetrated by Jeffrey Epstein, his lieutenant Ghislaine Maxwell, and
others. Ms. Maxwell is the defendant in the above-referenced case and is to be
sentencing on June 28, 2022.

      We write to request that the Court allow Ms. Ransome and Ms. Stein to
speak briefly at upcoming the sentencing hearing. Ms. Ransome was one of the
Epstein victims who spoke to deliver a victim impact statement in front of
Judge Berman on August 29, 2019, when Judge Berman dismissed the Epstein
indictment due to Epstein’s apparent suicide.

      Pursuant to 18 U.S.C. section 3771 (the “Crime Victims’ Rights Act”) “A
crime victim has
         ***
         (4) The right to be reasonably heard at any public proceeding in the
         district court involving release, plea, sentencing, or any parole
         proceeding”[.]




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      Accordingly, we request that Ms. Ransome and Ms. Stein be given an
opportunity to speak at the Maxwell sentencing,

                                          Very truly yours,

                                          Robert Y. Lewis
                                          Robert Y. Lewis



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